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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-MJ-00256-AC
12                                 Plaintiff,              -------------- FINDINGS AND ORDER
                                                          [PROPOSED]
                                                          EXTENDING TIME FOR PRELIMINARY
13                          v.                            HEARING PURSUANT TO RULE 5.1(d) AND
                                                          EXCLUDING TIME
14   AMERIKA MOBLEY and
     BENJAMIN GILBERT,                                    DATE: January 24, 2019
15                                                        TIME: 2:00 p.m.
                                  Defendants.             COURT: Hon. Edmund F. Brennan
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18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on January 22, 2019.

20 The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.

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      [PROPOSED] FINDINGS AND ORDER                        1
                Case 2:18-mj-00256-AC Document 26 Filed 01/23/19 Page 2 of 2


 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1.       The date of the preliminary hearing is extended to March 7, 2019, at 2:00 p.m.

 3         2.       The time between January 24, 2019, and March 7, 2019, shall be excluded from

 4 calculation pursuant to 18 U.S.C. § 3161(h)(7)(A).

 5         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

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 7         IT IS SO ORDERED.

 8
                January 23, 2019
     Dated:
 9                                                          The Honorable EDMUND F. BRENNAN
                                                            UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] FINDINGS AND ORDER                     2
